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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
255 WEST MAIN STREET
ROOM 304
CHARLOTTESVILLE, VIRGINIA 22902

OFFICIAL BUSINESS
PENALTY FOR PRIVATE USE $300

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Case 3:17-cv-00072-NKM-JCH

16 SEP 2024 PM3L

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AT CHARLOTTESVILLE. VA
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